Case 3:13-cv-00080-IEG-DHB Document 9 Filed 04/15/13 PageID.38 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11    GINNY EDMUNDS,                                               CASE NO. 13-cv-80 – IEG (DHB)
12                                         Plaintiff,              ORDER GRANTING JOINT
              vs.                                                  MOTION TO DISMISS WITH
13                                                                 PREJUDICE
14    NATIONAL ENTERPRISE SYSTEMS,                                 [Doc. No. 8]
      INC., et al.,
15
                                        Defendants.
16
17
            Before the Court is the parties’ joint motion to dismiss the action with prejudice. [Doc.
18
     No. 8.] Pursuant to Federal Rule of Civil Procedure 41 and for good cause shown, the Court
19
     GRANTS the joint motion and DISMISSES the action with prejudice. The clerk is directed to
20
     close the case.
21
            IT IS SO ORDERED.
22
     Dated: April 11, 2013
23
                                                              ________________________________
24
                                                              IRMA E. GONZALEZ
25                                                            United States District Judge
26
27
28


                                                        -1-                                         13cv80
